              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT




            CITY OF LARGO and NATHANIEL J. HANSMANN,

                                 Appellants,

                                      v.

          JOSHUA LYLES, parent and natural guardian of
     JEREMIAH LYLES, a minor; and JOSHUA LYLES, individually,

                                  Appellee.


                             No. 2D2024-0897



                              August 23, 2024

Appeal pursuant to Fla. R. App. P. 9.130 from the Circuit Court for
Pinellas County; Patricia Ann Muscarella, Judge.

Elizabeth W. Neiberger, Jamie A. Kilpatrick, and Whynter KJA Morgan-
Neal of Bryant Miller Olive P.A., Tampa, for Appellants.

Crystal Sebago of Crystal Sebago, P.A., Tampa, for Appellee.

PER CURIAM.

      Affirmed.


CASANUEVA, SILBERMAN, and LABRIT, JJ., Concur.


Opinion subject to revision prior to official publication.
